     Case 2:04-cv-09049-DOC-RNB Document 1745-7 Filed 01/29/08 Page 1 of 3 Page ID
                                      #:24070



        1                                             PROOF OF SERVICE

        2          I am employed in the County of Los Angeles, State of California. I am over the age of
            eighteen years and not a party to the within action; my business address is Now Legal Service,
        3   1301 W. 2nd Street, Suite 206, Los Angeles, CA 90026.

        4       On January 28, 2008, I served true copies of the following document{s) described as
            DOCUMENT LIST on the parties in this action as follows:
        S
                         Thomas J. Nolan                              Mark E. Overland
        6                Skadden , Arps, Slate, Meageher & Flom       David C. Scheper
                         LLP                                          Alexander H. Cote
        7                300 South Grand Ave., Ste. 3400              Overland Borenstein Scheper & Kim
                         Los Angeles, CA 90071                        LLP
        8                                                             300 South Grand Avenue, Suite 2750
                                                                      Los Angeles, CA 90071
        9

       10
            BY PERSONAL SERVICE: I delivered such envelopes} by hand to the office of the person(s)
       l1   being served.

       12           I declare that I am employed in the office of a member of the bar of this Court at whose
            direction the service was made.
       13
                         Executed on January 28, 2008, at Los Angeles, California.
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E
c      15
C
^^
       16                                                        NOW LEGAL -- Dave Quintana
v'
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     Case 2:04-cv-09049-DOC-RNB Document 1745-7 Filed 01/29/08 Page 2 of 3 Page ID
                                      #:24071



                                                    PROOF OF SERVICE

        2           I am employed in the County of Los Angeles, State of California. I am over the age of
            eighteen years and not a party to the within action; my business address is 865 South Figueroa
        3   Street, 10th Floor, Los Angeles, California 90017-2543.

        4       4n January 28, 2008,1 served true copies of the following docurnent(s} described as
            DOCUMENT LIST on the parties in this action as follows:
        5
                      John W. Keker, Esq.
        6             Michael H. Page, Esq.
                      Christina M. Anderson, Esq.
        7             Keker & Van Nest, LLP
                      714 Sansome Street
                      San Francisco , CA 94111

        9   BY MAIL: I enclosed the foregoing into sealed envelope(s) addressed as shown above, and I
            deposited such envelope{s} in the mail at Los Angeles, California. The envelope was mailed with
       10   postage thereon fully prepaid.

       11   BY FEDEX: I deposited such document{s) in a box or other facility regularly maintained by
            FedEx, or delivered such document{s} to a courier or driver authorized by FedEx to receive
       12   documents, in sealed envelope(s) or package{s} designated by FedEx with delivery fees paid or
            provided for, addressed to the person(s) being served.
       13
                    I declare that T am employed in the office of a member of the bar of this Court at whose
       14   direction the service was made.
E
as                    Executed on January 28, 2008, at Los Angeles, California.
c      1S
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^_
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Q
                                                                        1 `f vVV
       17
                                                              Amanda Navarro
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                                               #:24072



                   1                             DOCUMENT LIST

                   2     1. NOTICE OF MOTION AND MOTION OF MATTEL, INC. TO ENFORCE
                         THE COURT ' S ORDER OF MAY 15, 2007 , TO COMPEL MGA TO
                   3     PRODUCE COMPELLED CALENDARS, AND FOR SANCTIONS

                   4     2. DECLARATION OF B. DYLAN PROCTOR IN SUPPORT OF MOTION
                         OF MATTEL, INC. TO ENFORCE THE COURT' S ORDER OF MAY 15,
                   5     2007, TO COMPEL MGA TO PRODUCE COMPELLED CALENDARS,
                         AND FOR SANCTIONS
                   b
                         3. DECLARATION OF OLEG STOLYAR IN SUPPORT OF MOTION OF
                   7     MATTEL, INC. TO ENFORCE THE COURT'S ORDER OF MAY 15, 2007,
                         TO COMPEL MGA TO PRODUCE COMPELLED CALENDARS, AND
                   8     FOR SANCTIONS

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                                                                                    PROOF OF SERVICE ^
